United States District Court

NORTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,

VS. APPEARANCE BOND
and
CODI LYN DEMAIO ORDER SETTING CONDITIONS OF RELEASE

Case Number: 0862 2:22CR01039-002

Type of Bond & Conditions of Release
IT IS ORDERED that the defendant is released pursuant to:
a a personal recognizance bond.

CJ an unsecured bond binding the defendant to pay the United States the sum of $ in the event of a failure
to appear as required or to surrender as directed for service of any sentence imposed.

O a secured bond of $ , secured by ( ) cash deposited with the court ( ) the agreement of the
defendant and each surety to forfeit cash or other property as follows (see attached):

While on bond, the defendant must: (1) not violate any federal, state, or local law; (2) cooperate in the collection of a DNA
sample if authorized by 34 U.S.C. § 40702; (3) advise the court and defense counsel in writing before making any change of
residence or telephone number; and (4) appear in court as required and, if convicted, must surrender as directed to serve a
sentence that the court may impose,

The defendant must appear at: on if
left blank, defendant will be notified of next appearance.

Forfeiture or Release of the Bond
Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with every order of this court, or any
court that considers this case. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court may order a
judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including interest and costs.
Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the security will be
released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence,
Declarations

Ownership of the Property. I, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions of release set
by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: 03/ ms / 2023 (‘ Pe.
/ Se

Defendant's signature
Surety/property owner — printed name Surety/property owner — signature and date
LUM
Date: () I/ ?/ 2029 Signature of Judicial Officer

Mark A. Roberts, U.S. Magistrate Judge __
Name and Title of Judicial Officer
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Additional Conditions of Release

Pursuant to 18 U.S.C. § 3142(c), upon finding that release subject to aforementioned conditions will not by itself reasonably assure the
appearance of the defendant and/or the safety of any other person and the community, IT IS FUTHER ORDERED that the release of
the defendant is also subject to court supervision with the following conditions:

1. yr Reporting Instructions:

You must report to the United States Probation Office netater-than— —~er as directed
by the probation officer. Afier initially reporting to the probation office, you will receive instructions from the
probation officer about how and when you must report to the probation officer, and you must report to the probation
officer as instructed, You must follow the instructions of the probation officer related to the conditions of supervision
and answer truthfully the questions asked by your probation officer. /

2. my Restrictions on Personal Associations, Residence, or Travel:

A. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, you must not knowingly communicate or interact with that nerson without
first getting the permission of the probation officer. Asfacdart Mey nsec de ath :
CYB. You must not knowingly have contact, direct or indirect, with any person who is or may be a victim or witness
in the investigation or prosecution, including:

Etc. You must live at a place approved by the probation officer, If you plan to change where you live or anything
about your living arrangements (such as the people you live with), you must notify the probation officer at least 10
days before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

C1 b. You must reside in a Residential Reentry Center (RRC). While a resident of the RRC, you must abide by all
rules and regulations of the facility. You must report to the RRC at the time and date directed by the probation officer.
[E. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit
the probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

Or. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
the permission from the probation officer.

C] G. You must not travel further than miles from your residence without first getting the permission from
the probation officer.

CTH. You must not obtain a new passport, and if you have a passport, you must surrender it to the United States
Probation Office.

3% [1 Controlled Substance and Firearm/Weapon Restrictions:
LFA. You must not unlawfully possess a controlled substance. You must refrain from any unlawful use of a controlled
substance. It is unlawful under federal law to use any form of marijuana under any circumstances.

ET. You must not possess or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
person such as nunchakus or tasers).

4, x Law Enforcement Contact and Third Party Risk:
Os you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
hours.
C] B. You must not act or make any agreement with a law enforcement agency to act as a confidential human source
or informant without first getting the permission of the court.
C) c. If the probation officer determines that you pose a risk to another person (including an organization), the

probation officer may require you to notify the person about the risk and you must comply with that instruction, The
probation officer may contact the person and confirm that you have notified the person about the risk.

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Employment and Education:

A. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation
officer excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so, If you plan to change where you work or anything about your
work (such as your position or your job responsibilities}, you must notify the probation officer at least 10 days before
the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

[1] B. You must not accept or maintain any employment in which you would have access to money or assume a
fiduciary position. You must allow the probation officer to notify your employer of your current criminal status.

[] c. You must maintain or commence and educational program.

Substance Abuse:
CYA. You must participate in a substance abuse evaluation. You must complete any recommended treatment program,
which may include a cognitive behavioral group, and follow the rules and regulations of the treatment program. You
must participate in a program of testing for substance abuse. You must not attempt to obstruct or tamper with the
testing’ methods. ,

B. You must not use or possess alcohol. You are prohibited from entering any establishment that holds itself out
to the public to be a bar or tavern without first getting the permission of the probation officer.
C1 c. You must participate in the Remote Alcohol Testing Program during any period of your supervision. You must
abide by all rules and regulations of the Remote Alcohol Testing Program. You must pay the costs associated with the
program as directed by the Court and determined by the United States Probation Office.

Mental Health:

Cra. You must participate in a mental health evaluation. You must complete any recommended treatment program,
and follow the rules and regulations of the treatment program. You must take all medications prescribed to the
defendant by a licensed medical provider,

C1 B. You must undergo medical or psychiatric treatment and/or remain in an institution as follows:

Cc. You must participate in an evaluation for anger management and/or domestic violence. You must complete any
recommended treatment program, and follow the rules and regulations of the treatment program.

[YD. You must participate in a gambling addiction evaluation. You must complete any recommended treatment
program, and follow the rules and regulations of the treatment program. You must not be on the premises of any casino
during any period of your supervision. You must not participate in any form of gambling, including but not limited to,
lotteries, pull-tab cards, card games, on-line gambling, horse and dog racing, and sports betting.

C1 £, You must participate in a cognitive behavioral program, and comply with the rules and regulations of the
program.

C1] ¥. You must participate in a program for domestic violence.

Financial:

C1 A. You must timely pay all current and past due child support payments ordered by any state or federal court. You
must also cooperate with any requests from the Iowa (or other State) Child Support Recovery Unit (or other state unit)
in the collection and satisfaction of those obligations.

C1 B. You must provide the probation officer with access to any requested financial information.

C1 c. You must cooperate with the Internal Revenue Service in the determination, assessment, and payment of any
tax liability you may have. You must provide the probation officer with a copy of any payment plan agreed upon with
the Internal Revenue Service, and must make the required payments thereunder. You must allow the probation officer
and the Internal Revenue Service to communicate with each other to monitor your compliance with this condition.
C] p. You must file valid and truthful individual income tax returns as they become due by law and must provide
copies of such returns to the United States Probation Office as requested.

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10.

Sex Offense Restrictions:

[1] A. You must not knowingly view, possess, produce, or use any materials that depict sexually explicit conduct as
defined in 18 U.S.C. § 2256, or any form of sexually stimulating, sexually oriented, or pornographic materials.

OC B. You must not knowingly have contact with children under the age of 18 (including through letters,
communication devices, audio or visual devices, visits, electronic mail, the Internet, or any contact through a third
party) without first getting the written permission of the probation officer. The probation officer may work with you
and your family to set up supervised communications and visits with your biological and legally adopted children.
L] c. You must not knowingly be present at places where minor children under the age of 18 are congregated, such
as residences, parks, beaches, pools, daycare centers, playgrounds, and schools without first getting the permission of
the probation officer.

CJ] D. You must allow the probation officer to install computer monitoring software on any computer [as defined in
18 U.S.C. § 1030(e}(1)] that is used by the defendant. To ensure compliance with the computer monitoring condition,
you must allow the probation officer to conduct initial and periodic monitoring and inspections of any computers [as
defined in 18 U.S.C. § 1030(e)(1)] subject to computer monitoring. This monitoring and said inspections will be
conducted to determine whether the computer contains any prohibited data prior to the installation of the monitoring
software, whether the monitoring software is functioning effectively after its installation, and whether there have been
attempts to circumvent the monitoring software after its installation. You must warn any other people who use these
computers that the computers may be subject to monitoring and inspections pursuant to this condition.

CI £. You must comply with the requirements of the Sex Offender Registration Act and Notification Act (34 U.S.C.
§ 20901, ef seq.) as directed by the probation officer, or any state sex offender registration agency in the location where
you reside, work, and/or are a student, and/or was convicted of a qualifying offense.

Location Monitoring:

You must participate in one of the following location restriction programs and comply with its requirements as
directed.

CL (i) Curfew. You are restricted to your residence every day ( Cy } from to ,or O } as
directed by the probation officer; or

CO (ii} Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the probation officer, or

CO (iit) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
necessities and court appearances or other activities specifically approved by the court, or

LJ (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions.

However, you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.

You must submit to the following location monitoring technology and comply with its requirements as directed:
Cc (i) Location monitoring technology as directed by the pretrial services or supervising officer; or

CL (ii) Voice Recognition; or

CO (ili) Radio Frequency; or

CI civ) GPs,

C1) You must pay all or part of the cost of location monitoring based upon your ability to pay as determined by the
probation officer.

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12.

Third Party Custodian:

You must be placed in the custody of: who agrees to (1)
supervise you, and use every reasonable effort to assure that you will abide by all of the conditions of his/her release;
(2) use every reasonable effort to assure that you appear at all proceedings as required and surrenders for service of
any sentence imposed; and (3) notify the court immediately in the event you violate a condition of release or are no
longer in the custodian’s custody,

Address:

City and State:

Telephone Number:

Signed:

Custodian or Proxy Date

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ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper
with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may
be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined not
more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not more
than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set

forth above.

Signature of Defendant

Directions to United States Marshal

a The defendant is ORDERED to be processed by the United States Marshal and released after processing:

CI at __am/p-n-en
.5-Lat 415 ley
CL fro Taterthatt ante p-At-OR-

O The United States Marshal is ORDERED to keep the defendant in custody until notified by the U.S. Probation Office that
the defendant has posted bond and/or complied with all other conditions required for release.

Date: 01/1 / 22 _ Lo (Oy

Signature of Judicial Officer

Mark A. Roberts, U.S. Magistrate Judge
Name and Title of Judicial Officer

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